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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In Re:

KENNETH PAUL WELLINGTON F/D/B/A KP AND AJ                       Bk. No. 18-58335- JWC
ENTERPRISES, LLC
                                                                Chapter 7
       Debtor.
________________________________

         NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS
         PLEASE TAKE NOTICE that the undersigned counsel enters its appearance for
CENLAR FSB, a creditor and/or party in interest (“the Creditor”), with regards to its Mortgage
recorded April 27, 2016, Book 56095 and Page 621 on the real property, located at 3301
FORREST HILLS DR, ATLANTA, GA 30354, in the above captioned bankruptcy matter, and
pursuant to Bankruptcy Rule 2002(g) and 2002(h) and 9007 and §1109(b) of the Bankruptcy
Code, demands that all notices that are required to be given in this case and all papers that are
required to be served in this case, be given to and served upon the undersigned at the office, post
office address and telephone number set forth below.

        PLEASE TAKE FURTHER NOTICE that pursuant to §1109(b) of the Bankruptcy
Code, the foregoing demand includes not only the notices and papers referred to in the Rules
specified above, but also includes, without limitation, orders and notices of any application,
motion, petition, pleading, request, complaint or demand, whether formal or informal, whether
written or oral whether transmitted or conveyed by mail, delivered, telephone, telegraph, telex or
otherwise which affect or seek to affect in anyway any of the Creditor’s rights or interest, with
respect to the Debtor or the property on which Creditor holds a mortgage lien.

Date: May 23, 2018
                                         /s/Ryan Starks
                                         Ryan Starks, Georgia Bar No: 676512
                                         Attorney for CENLAR FSB
                                         Phelan Hallinan Diamond & Jones, PLLC
                                         11675 Great Oaks Way
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